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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MICHAEL FAULK,                                )
                                              )
               Plaintiff,                     )       Case No. 4:18-CV-308-JCH
                                              )
v.                                            )
                                              )
CITY OF ST. LOUIS, et al.,                    )
                                              )
               Defendants.                    )



            DEFENDANTS’ MOTION FOR PROTECTIVE ORDER PURSUANT
                         TO RULES 30(d)(3) AND 26(c)(1)

       COME NOW Defendants Gerald Leyshock, Scott Boyher, Timothy Sachs, Randy

Jemerson, Matthew Karnowski, Brian Rossomanno, Andrew Wismar, Anthony Wozniak, John

Gentilini, James Harris III, Brian Gonzales, Robert Stuart, Bryan Barton, James Wood, Tom

Long, Lawrence O’Toole (collectively referred to herein as “Individual Defendants”) and

respectfully request this Court enter a protective order pursuant to F ED.R.C. P. 26(c)(1) and

30(d)(3). In support, Defendants state as follows:

       I.      Introduction

       Plaintiff Michael Faulk (“Plaintiff”) alleges various constitutional claims pursuant to 42

U.S.C. § 1983 and Missouri state law against the sixteen Individual Defendants, who are current

or former employees of the City of St. Louis Police Department. Plaintiff alleges, among other

things, violations of his First, Fourth and Fourteenth Amendment rights stemming from his arrest

on the evening of September 17, 2017.

       On September 3, 2020 Plaintiff took the deposition of Defendant Randy Jemerson

(“Jemerson”) in this matter. During counsel’s examination of Jemerson, counsel for Plaintiff


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requested Jemerson’s personal cellphone number and the name of his cellphone provider. The

undersigned counsel instructed Jemerson not to answer, citing Jemerson’s interest in protecting

the privacy of his personal cellphone number.

       This Court should find, first, that the personal cell phone numbers of the Individual

Defendants are not relevant and are unnecessary for resolving the issues in this litigation. This

Court should further find, as it previously has, that police officers have a privacy right in their

personal cell phone numbers. Accordingly, this Court should enter a protective order barring

plaintiff from inquiring about the Individual Defendants’ personal cell phone numbers.

       II.     Legal Standard

       Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case, considering the importance of

the issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit. F ED. R. C.

P. 26(b)(1).

       A court can enter a protective order upon a request of a party or a person from whom

discovery is sought to protect a person from annoyance, oppression, or undue burden or expense.

FED.R.C. P. 26(c). Among the types of protective orders that a court can enter are those holding

that the discovery not be had or that discovery may be had only on specified terms and

conditions or prescribing a discovery method other than the one selected by the party seeking

discovery. FED.R.C. P. 26(c)(1)(A)-(C).

       Further, Rule 30(d)(3)(A) provides that at any time during a deposition, the deponent or a

party may move to terminate or limit it on the ground that it is being conducted in a manner that



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unreasonably annoys, embarrasses, or oppresses the deponent or party. The court may limit the

deposition’s scope and manner as provided in Rule 26(c). Rule 30(d)(3)(B).

   III.      Argument

          Here, Plaintiff presumably seeks Jemerson’s cell phone number because he intends to

attempt to subpoena Plaintiff’s cell phone provider for his personal cellphone records, such as

phone call logs and text messages.

          To the extent that Plaintiff requests Jemerson’s personal cellphone number because he

intends to subpoena call records and text messages from Jemerson’s cellphone provider, this

Court should first find the request overbroad and not in proportion to the needs of this litigation.

A request for Jemerson’s cellphone records that is unlimited in scope is overbroad because it

fails to distinguish between cellphone records and communications related to Jermerson’s duties

as a police sergeant the night of Plaintiff’s arrest and irrelevant communications made by

Jemerson in his private, personal life. Indeed, the Supreme Court has acknowledged that

cellphone records may contain material of a highly personal nature. See Riley v. California, 573

U.S. 373, 375 (2014) (stating that “it is no exaggeration to say that many of the more than 90%

of American adults who own a cell phone keep on their person a digital record of nearly every

aspect of their lives—from the mundane to the intimate.”); City of Ontario, Cal. v. Quon, 130 S.

Ct. 2619, 2630 (2010) (“Cell phone and text message communications are so pervasive that some

persons may consider them to be essential means or necessary instruments for self-expression,

even self-identification. That might strengthen the case for an expectation of privacy.”).

          This Court has previously recognized that a police officer has a right to privacy with

regard to his or her private cell phone number. In Zorich v. St. Louis Cty., a § 1983 action arising

from the execution of a search warrant, this Court recognized an officer’s privacy interest in his



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personal cell phone number. No. 4:17-CV-1522 PLC, 2018 U.S. Dist. LEXIS 141506 at *12

(E.D. Mo. Aug. 21, 2018). In that case, the Court found a plaintiff’s request that a police officer

disclose all communications on his personal cellphone to be unduly burdensome, overbroad, and

unnecessary. Id. Instead, the Court ordered defendant to produce only communications occurring

during a finite period that involved either the other defendants or a particular individual who the

plaintiff alleged had coordinated with the officer to search the plaintiff’s property. Id. See also

Smith v. Dayton, 68 F. Supp. 2d 911, 918 (S.D. Ohio 1999) (holding that city’s release to

newspaper of unlisted phone number of police officer involved in fatal shooting violated his

constitutional right to privacy).

       Moreover, this Court and others have found that, in the context of Fourth Amendment

searches, individuals possess a reasonable expectation of privacy in their cell phone records.

United States v. Meador, 2008 U.S. Dist. LEXIS 92728 at *35 (E.D. Mo. Jan. 7, 2008) (finding

homicide suspect has a reasonable expectation of privacy in contents of cell phone); United

States v. Finley, 477 F.3d 250, 259 (5th Cir. 2007), cert. denied, 549 U.S. 1353, 127 S. Ct. 2065

(2007) (finding suspect had a reasonable expectation of privacy in text messages and cell phone

call records); United States v. Davis, 787 F. Supp. 2d 1165, 1170 (D. Or. 2011) citing Finley,

477 F.3d at 259-60 (holding that “[a] person has a reasonable expectation of privacy in his or her

personal cell phone, including call records and text messages); United States v. Morales-Ortiz,

376 F. Supp. 2d 1131, 1140 (D.N.M. 2004) (stating that “[a]n individual has an expectation of

privacy in an electronic repository for personal data, including cell telephones and pager data

memories.”)

       In this case, Defendants intend to work with Plaintiff in good faith to determine if a

reasonable compromise can be reached with regard to the scope of the communications that the



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Individual Defendants will produce in this matter. However, this Court should find, as it did in

Zorich, it is burdensome and unnecessary for the Individual Defendants to provide Plaintiff with

personal cellphone numbers because such a request is not reasonably limited to communications

and information that are relevant and material to the issues in this litigation.

                                          CONCLUSION

       For the foregoing reasons, this Court should enter a protective order pursuant to F ED. R.

C. P. 26(b)(1) and 30(d)(3) barring Plaintiff from seeking the Individual Defendants’ cellphone

numbers because police officers have a privacy right in their cellphone numbers and the request

for Jemerson’s personal cellphone number is overly broad, burdensome and unnecessary to

resolving the issues in this case.


                                                      Respectfully submitted,

                                                      JULIAN BUSH
                                                      CITY COUNSELOR


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                                CERTIFICATE OF SERVICE

       I hereby certify this Motion was electronically filed on this 10th day of September 2020
with the Court for service by means of Notice of Electronic Filing upon all attorneys of record.


                                                    /s/ Erin K. McGowan




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